       Case:23-40569-EJC Doc#:209 Filed:01/19/24 Entered:01/20/24 00:32:21                                                                 Page:1 of 9
                                                              United States Bankruptcy Court
                                                               Southern District of Georgia
In re:                                                                                                                 Case No. 23-40569-EJC
Master Lending Group, LLC                                                                                              Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 113J-4                                                  User: admin                                                                 Page 1 of 4
Date Rcvd: Jan 17, 2024                                               Form ID: pdf004                                                            Total Noticed: 4
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jan 19, 2024:
Recip ID                   Recipient Name and Address
db                    #+   Master Lending Group, LLC, 308 Megan Court, Savannah, GA 31405-5956
aty                    +   Daniel Weigel, Taylor English Duma LLP, 1600 Parkwood Circle SE, Suite 200, Atlanta, GA 30339-2119
intp                   +   Hirsch & Company, Thomas J. Ratcliffe, Jr., Executor of the Estate of Gregory Hirsch, 103 North Main Street, Hinesville, GA 31313-3215
intp                   +   Hirsh & Tucker, LLC, Attn: Jeffrey Tucker, 440 Mall Blvd., Suite A, Savannah, GA 31406-4868

TOTAL: 4

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jan 19, 2024                                            Signature:           /s/Gustava Winters




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on January 17, 2024 at the address(es) listed
below:
Name                               Email Address
Adam Dozier
                                   on behalf of Creditor Susan Brinkley adam@dozierlawpc.com
                                   sherrie@dozierlawpc.com;dozier.adamb123246@notify.bestcase.com

Adam Dozier
                                   on behalf of Creditor Louis C. Young adam@dozierlawpc.com
                                   sherrie@dozierlawpc.com;dozier.adamb123246@notify.bestcase.com

Adam Dozier
                                   on behalf of Creditor Michael Barr adam@dozierlawpc.com
        Case:23-40569-EJC Doc#:209 Filed:01/19/24 Entered:01/20/24 00:32:21                                                Page:2 of 9
District/off: 113J-4                                            User: admin                                                     Page 2 of 4
Date Rcvd: Jan 17, 2024                                         Form ID: pdf004                                                Total Noticed: 4
                              sherrie@dozierlawpc.com;dozier.adamb123246@notify.bestcase.com

Brian F. Hansen
                              on behalf of Attorney Howard M. Ehrenberg brian.hansen@gmlaw.com yillian.sarmiento@gmlaw.com

Brian F. Hansen
                              on behalf of Attorney Mark S. Horoupian brian.hansen@gmlaw.com yillian.sarmiento@gmlaw.com

Christian J. Steinmetz, III
                              on behalf of Creditor James E. Jones cjs@ggsattorneys.com

Christian J. Steinmetz, III
                              on behalf of Creditor Cathy Royal cjs@ggsattorneys.com

Christian J. Steinmetz, III
                              on behalf of Creditor Vanessa Jones cjs@ggsattorneys.com

Christian J. Steinmetz, III
                              on behalf of Creditor Alan Lipsitz cjs@ggsattorneys.com

Christian J. Steinmetz, III
                              on behalf of Creditor Danny Kaminsky cjs@ggsattorneys.com

Christian J. Steinmetz, III
                              on behalf of Creditor JEJ LLC cjs@ggsattorneys.com

Christian J. Steinmetz, III
                              on behalf of Creditor JGJ LLC cjs@ggsattorneys.com

Christian J. Steinmetz, III
                              on behalf of Creditor Jones on 17th LLC cjs@ggsattorneys.com

Christian J. Steinmetz, III
                              on behalf of Creditor Lisa Kaminsky cjs@ggsattorneys.com

Christian J. Steinmetz, III
                              on behalf of Creditor Lisa Gay cjs@ggsattorneys.com

Christian J. Steinmetz, III
                              on behalf of Creditor Terri Jones cjs@ggsattorneys.com

Christian J. Steinmetz, III
                              on behalf of Creditor Katherine Royal cjs@ggsattorneys.com

Christopher Brent Wardrop
                              on behalf of Plaintiff Pruco Life Insurance Company justin.plean@qpwblaw.com

Dana F. Braun
                              on behalf of Creditor Marjorie C. Gordon dbraun@epra-law.com

Dana F. Braun
                              on behalf of Creditor Klugman Investments dbraun@epra-law.com

Dana F. Braun
                              on behalf of Creditor Doris Klugman dbraun@epra-law.com

Dana F. Braun
                              on behalf of Creditor Danny Klugman dbraun@epra-law.com

Dana F. Braun
                              on behalf of Creditor Murray Klugman dbraun@epra-law.com

Dana F. Braun
                              on behalf of Creditor Abe Klugman IRA dbraun@epra-law.com

Daniel C. Jenkins
                              on behalf of Creditor Morris Geffen daniel@djenkinslaw.com
                              djenkinslawecf@gmail.com;LawOfficesofDanielCJenkinsLLC@jubileebk.net

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                              on behalf of Creditor Barbara Aronson dbury@stoneandbaxter.com
                              tnorton@stoneandbaxter.com;lchapman@stoneandbaxter.com;lford@stoneandbaxter.com;amoses@stoneandbaxter.com

Doroteya N Wozniak
                              on behalf of Creditor Gregory M Hirsch dwozniak@jamesbatesllp.com bhenderson@jamesbatesllp.com

Ellen Louise Ash
                              on behalf of Plaintiff Pruco Life Insurance Company ellen.ash@qpwblaw.com

Howard M. Ehrenberg
                              howard.ehrenberg@gmlaw.com denise.walker@gmlaw.com

James Coursey, Jr.
        Case:23-40569-EJC Doc#:209 Filed:01/19/24 Entered:01/20/24 00:32:21                                                   Page:3 of 9
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Date Rcvd: Jan 17, 2024                                         Form ID: pdf004                                                     Total Noticed: 4
                              on behalf of Creditor Troy Bouy jcoursey@tmahoneylaw.com

James Coursey, Jr.
                              on behalf of Creditor Francis Bouy Estate of jcoursey@tmahoneylaw.com

James Coursey, Jr.
                              on behalf of Creditor Troy and Francis Bouy jcoursey@tmahoneylaw.com

James Coursey, Jr.
                              on behalf of Creditor Mark Bouy jcoursey@tmahoneylaw.com

James Coursey, Jr.
                              on behalf of Creditor Brett Bouy jcoursey@tmahoneylaw.com

James F. Banter
                              on behalf of Creditor Gregory M Hirsch jbanter@jamesbatesllp.com

James L. Drake, Jr.
                              on behalf of Interested Party Workermen's Circle Credit Union jdrake@drakefirmpc.com jamynjul3@aol.com

James L. Drake, Jr.
                              on behalf of Creditor Marcey Dolgoff Alter jdrake@drakefirmpc.com jamynjul3@aol.com

Jason L. Pettie
                              on behalf of Trustee Tiffany E. Caron jpettie@taylorenglish.com

Jeremy S. McKenzie
                              on behalf of Creditor Dale Kaminsky jeremy@kmtrial.com

John Anthony Christy
                              on behalf of Interested Party John Christy jchristy@swfllp.com

John K. Rezac
                              on behalf of Trustee Tiffany E. Caron jrezac@taylorenglish.com

Judson C. Hill
                              on behalf of Attorney Judson C Hill bankruptcy@gastinhill.net hilljr66100@notify.bestcase.com

Leon S. Jones
                              on behalf of Defendant Judith Hirsch ljones@joneswalden.com
                              jwdistribution@joneswalden.com,cmccord@joneswalden.com,lpineyro@joneswalden.com

Leon S. Jones
                              on behalf of Interested Party Judith D Hirsch ljones@joneswalden.com
                              jwdistribution@joneswalden.com,cmccord@joneswalden.com,lpineyro@joneswalden.com

Margaret S. Puccini
                              on behalf of Creditor Louise M. Howard mpuccini@bouhan.com mharper@bouhan.com

Mark A. Bandy
                              on behalf of Creditor Jack Wardlaw bkdocs@markbandylaw.com
                              mark@markbandylaw.com;a.mr77089@notify.bestcase.com;ecf@casedriver.com

Mark A. Bandy
                              on behalf of Creditor Teresa Wardlaw bkdocs@markbandylaw.com
                              mark@markbandylaw.com;a.mr77089@notify.bestcase.com;ecf@casedriver.com

Mark A. Bandy
                              on behalf of Creditor Jerry Wardlaw bkdocs@markbandylaw.com
                              mark@markbandylaw.com;a.mr77089@notify.bestcase.com;ecf@casedriver.com

Mark S. Horoupian
                              mark.horoupian@gmlaw.com cheryl.caldwell@gmlaw.com

Matthew E. Mills
                              on behalf of U. S. Trustee Office of the U. S. Trustee ustpregion21.sv.ecf@usdoj.gov

Natalie Rowland
                              on behalf of Trustee Tiffany E. Caron nrowland@taylorenglish.com

Natalie Rowland
                              on behalf of Plaintiff Tiffany E Caron nrowland@taylorenglish.com

Natalie Rowland
                              on behalf of Defendant Tiffany Caron nrowland@taylorenglish.com

Neil C. Gordon, I
                              on behalf of Trustee Tiffany E. Caron pbicknell@taylorenglish.com aford@taylorenglish.com;ngordon@taylorenglish.com

Office of the U. S. Trustee
                              Ustpregion21.sv.ecf@usdoj.gov

Robert M. Brennan
       Case:23-40569-EJC Doc#:209 Filed:01/19/24 Entered:01/20/24 00:32:21                                               Page:4 of 9
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Date Rcvd: Jan 17, 2024                                   Form ID: pdf004                                                      Total Noticed: 4
                          on behalf of Interested Party Hirsh & Tucker LLC bbrennan@phrd.com

Susan Elizabeth Hall
                          on behalf of Creditor Gregory M Hirsch ehall@jamesbatesllp.com cblizzard@jamesbatesllp.com

Thomas B. Norton
                          on behalf of Creditor Barbara Aronson tnorton@stoneandbaxter.com
                          lchapman@stoneandbaxter.com;amoses@stoneandbaxter.com

Tiffany E. Caron
                          on behalf of Trustee Tiffany E. Caron tiffany.caron@hotmail.com tcaron@ecf.epiqsystems.com;ga68@ecfcbis.com

Tiffany E. Caron
                          tiffany.caron@hotmail.com tcaron@ecf.epiqsystems.com;ga68@ecfcbis.com


TOTAL: 60
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      IT IS ORDERED as set forth below:




      Date: January 17, 2024



_____________________________________________________________________________




                           IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF GEORGIA
                                      SAVAN1AH DIVISION

      In Re:                                       §      Case No.: 23-40569-EJC
                                                   §
      MASTER LENDING GROUP, LLC,                   §      (Chapter 7)
                                                   §
                      Debtor                       §


                ORDER FOR EXAMINATION AND PRODUCTION OF DOCUMENTS
                         PURSUANT TO BANKRUPTCY RULE 2004

               Upon the motion filed by the Trustee pursuant to Bankruptcy Rule 2004,

               IT IS HEREBY ORDERED that the Probate Estate of Gregory M. Hirsch shall produce

      to the Trustee the documents listed in Appendix A on or before February 16, 2024 or as otherwise

      agreed upon by the parties.

                                             END OF DOCUMENT


      Prepared by:

      /s/ Tiffany E. Caron
      TIFFANY E. CARON, ESQ.
      GA BAR NO. 745089
      CHAPTER 7 TRUSTEE
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  P.O. BOX 711
  WEST PALM BEACH, FL 33402
  404-647-4917
  TIFFANY.CARON@HOTMAIL.COM
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                                         APPENDIX “A”

                                             Definitions


  A. As used herein, the term “Document” is intended to have the broadest permissible meaning
     under the Federal Rules of Civil Procedure and shall mean any written, printed, recorded,
     taped, electromagnetically recorded or encoded, electronically stored, graphic or other matter
     of every type and description that is or has been in the possession, custody, or control of you
     or any of your agents and attorneys, or of which you have knowledge, and shall include without
     limitation, the following: letters, correspondence, affidavits, declarations, statements, books,
     articles, reprints, resolutions, minutes, communications, messages, e-mails, electronic
     communications, electronically stored information, notes, loan documents, collateral
     documents, stenographic or handwritten notes, memoranda, diaries, contracts, subcontracts,
     bids, worksheets, drafts, agreements, records, resumes, invoices, receipts, bills, cancelled
     checks, financial statements, audit reports, tax returns, calendars, schedules, summaries,
     studies, calculations, estimates, diagrams, sketches, drawings, plans, photographs, tapes,
     videotapes, movies, recordings, transcriptions, work orders, computer print-outs, computer
     disks, data processing cards, data storage cards, and the like; and where originals of such
     documents are not available or are not in your possession, custody or control, every copy of
     every such document; and every copy of every such document where such copy is not an
     identical copy of the original or where such copy contains any commentary or notation
     whatsoever which does not appear on the original.


  B. As used herein, the term “Debtor” or “MLG” shall refer to Master Lending Group, LLC.


  C. As used herein, the term “Petition Date” shall refer to July 6, 2023.
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                                 Document and Information Request


  Financials:

  For the period of January 1, 2015 to January 15, 2023:

  (1) all bank statements, deposit slips, canceled checks, and signature cards for any account over

  which Gregory Hirsch has or had signatory authority, including investment accounts (including
  but not limited to Raymond James and Coinbase);

  (2) all credit card statements for accounts on which Gregory Hirsch was an authorized user; and

  (3) any personal financial statements or loan applications submitted by Gregory Hirsch.

  Tax Returns:

  Federal and State Income Tax Returns whether filed as Married Filing Jointly or Married Filing
  Separately for the years of 2014 to 2021 for Gregory Hirsch.


  Life Insurance:

  For the period of January 1, 2021 to January 15, 2024:

  A list of all life insurance policies owned by Gregory M. Hirsch or insured on the life of Gregory
  M. Hirsch, including: Name of Insurance Company, Policy Number, Amount of Death Benefit,
  and Status of Proceeds.

  A list of all life insurance policies paid for by Gregory M. Hirsch out of any personal or business
  funds, including but not limited to the funds of Master Lending Group, LLC, Low Country
  Development, LLC, and Hirsch & Co., including: Name of Insurance Company, Policy Number,
  Amount of Death Benefit, and Status of Proceeds.

  Copies of the Sale Agreements with Trelog, Inc. for the sale of New York Life Insurance
  Policies with Death Benefits of:

     x $7,000,000 New York Life – Sold to Trelog, Inc. for approximately $3,575,000 on or
       around February 10, 2023;
     x $5,000,000 New York Life – Sold to Trelog, Inc. for approximately $2,500,000 on or
       around February 14, 2023; and
     x $2,500,000 New York Life – Sold to Trelog, Inc. for approximately $1,375,000 on or
       around February 14, 2023.

  Cell Phone and Records:
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  Production of the cellular phone records and any communication applications for the device used
  by Gregory M. Hirsch for any and all communications with investors in the two (2) years prior to
  his death, such records being stored electronically or otherwise.

  Any and all communications (written or otherwise), between Gregory Mr. Hirsch and the
  following individuals, business partners and/or investors, including but not limited to withdrawal
  of all or a portion principal from January 1, 2022 to August 3, 2023:

     x   Randy Chu
     x   Alena Chu
     x   Mai Chu
     x   Jonathan Chu
     x   Vanessa Jones
     x   Michael Jones
     x   James Jones
     x   Chris Williams
     x   Robert Isaacson
     x   Dean Flake
     x   Motti Locker
     x   David Kahn
     x   Lewis and/or Julie Mazzo
     x   James C. Wilson, Jr.
     x   Sheri Simon
     x   Nicole Chu
     x   Frederick and Renie Halperin
     x   David Klugman
     x   Jeff Notrica

  7 18th Street, Tybee Island, Georgia 31328 (the “Property”):

  Any and all documents related to the real estate transactions involving the Property for the period
  of January 1, 2017 to January 15, 2024.

  10 Whitaker, LLC

  Closing Statement on the Sale of 10 Whitaker Street, Savannah, GA 31401
